Case 2:20-cv-14195-RLR Document 39 Entered on FLSD Docket 11/08/2021 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 20-CV-14195-ROSENBERG/MAYNARD

  DELTA DANIELLE HARRIS,

          Plaintiff,

  v.

  DEB HAALAND, as Secretary
  of the United States Department
  of the Interior,

          Defendant.
                                          /

        ORDER ADOPTING MAGISTRATE’S REPORT AND RECOMMENDATION

          This matter is before the Court upon the Defendant’s Motion to Dismiss [DE 28] which

  was previously referred to the Honorable Shaniek M. Maynard for a Report and

  Recommendation. DE 16.         On October 25, 2021, Judge Maynard issued a Report and

  Recommendation recommending that the Motion be granted. DE 36. Plaintiff filed objections.

  DE 38. The Court has conducted a de novo review of Magistrate Judge Maynard’s Report and

  Recommendation, the objections, and the record and is otherwise fully advised in the premises.

          Upon review, the Court finds Judge Maynard’s recommendations to be well reasoned and

  correct. The Court agrees with the analysis in Judge Maynard’s Report and Recommendation

  and concludes that the Motion should be granted for the reasons set forth therein.

          For the foregoing reasons, it is ORDERED AND ADJUDGED as follows:

       1. Magistrate Judge Maynard’s Report and Recommendation [DE 36] is hereby

          ADOPTED;

       2. Defendant’s Motion [DE 28] is GRANTED;
Case 2:20-cv-14195-RLR Document 39 Entered on FLSD Docket 11/08/2021 Page 2 of 2




     3.   The Plaintiff’s case is DISMISSED; and

     4. The Clerk of the Court is directed to CLOSE THIS CASE.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 8th day of

  November, 2021.




                                                   _______________________________
                                                   ROBIN L. ROSENBERG
                                                   UNITED STATES DISTRICT JUDGE
  Copies furnished to Counsel of Record
